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UNITED STATES DISTRICT COU
SOUTHERN DISTRICT OF NEW Y

03 MDL 1570 (RCC)
In re Terrorist Attacks on September t1, 2001 ECF Case

This document relates to: Euro Brokers Inc. et al., v. Al Baraka Investment & Development
Corp. et al., 1:0§CV 7279

This document is filed on behalf of those plaintiffs in the above-referenced case seeking damages
for losses suffered by plaintiffs as a result of the September 11, 2001 Attack. Those Plaintiffs are
identified in Exhibit A attached hereto.
DEFAULT JUDGMENT

This action having been commenced on September 10, 2004 by the filing of the
Summons and Complaint; defendants listed in Exhibit B were served with a copy of the
complaint and summons in the manner described, proofs of such service thereof were filed on the
dates identified in Exhibit B, the defendants not having answered the complaint, and the time for
answering the complaint having expired, it is

ORDERED, ADJUDGED AND DECREED: That the Plaintiffs identified in Exhibit A

as seeking damages for losses, have judgment against the defendants listed in Exhibit B, and

shall be entitled to a hearing before this Court to establish the aggregate value of the Plaintiffs’

damages.
Dated: New York, New York
May (2, 2006 _ Reker baler
USDC SDNY U.S.D.J.
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